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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7

 8 PRINCIPAL FINANCIAL SERVICES,

 9                                 Plaintiff,              Case No. 2:22-cv-01096-RSL

10          v.                                             ORDER SETTING TRIAL DATE &
                                                           RELATED DATES
11 PRINCIPAL WARRANTY, LLC,

12                                 Defendant.

13 TRIAL DATE                                                               January 8, 2024

14 Deadline for joining additional parties                                  October 26, 2022

15 Deadline for amending pleadings                                          July 12, 2023

16 Reports from expert witnesses under FRCP 26(a)(2) due                    July 12, 2023

     All motions related to discovery must be noted on the motion
17
            calendar no later than the Friday before discovery closes
            pursuant to LCR 7(d) or LCR 37(a)(2)
18
     Discovery completed by                                                 September 10, 2023
19
     Settlement conference held no later than                               September 24, 2023
20
     All dispositive motions must be filed by and noted on the motion       October 10, 2023
21           calendar no later than the fourth Friday thereafter (see LCR
             7(d)(3))
22
   All motions in limine must be filed by and noted on the motion           December 11, 2023
23        calendar no earlier than the second Friday thereafter.
          Replies will be accepted.
24

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 1 Agreed pretrial order due                                                  December 27, 2023

 2 Pretrial conference to be scheduled by the Court

 3 Trial briefs, proposed voir dire questions, proposed jury                  January 3, 2024
           instructions, and trial exhibits due
 4
   Length of Trial: 8 days                                                    Jury
 5

 6          These dates are set at the direction of the Court after reviewing the joint status report and

 7 discovery plan submitted by the parties. All other dates are specified in the Local Civil Rules. If

 8 any of the dates identified in this Order or the Local Civil Rules fall on a weekend or federal

 9 holiday, the act or event shall be performed on the next business day. These are firm dates that

10 can be changed only by order of the Court, not by agreement of counsel or the parties. The

11 Court will alter these dates only upon good cause shown; failure to complete discovery within

12 the time allowed is not recognized as good cause.

13          If the trial date assigned to this matter creates an irreconcilable conflict, counsel must

14 notify Teri Roberts, the judicial assistant, at 206-370-8810 within 10 days of the date of this

15 Order and must set forth the exact nature of the conflict. A failure to do so will be deemed a

16 waiver. Counsel must be prepared to begin trial on the date scheduled, but it should be

17 understood that the trial may have to await the completion of other cases.

18          The settlement conference conducted between the close of discovery and the filing of

19 dispositive motions requires a face-to-face meeting or a telephone conference between persons

20 with authority to settle the case. The settlement conference does not have to involve a third-

21 party neutral.

22        ALTERATIONS TO ELECTRONIC FILING PROCEDURES AND LOCAL RULES

23          Information and procedures for electronic filing can be found on the Western District of

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 1 Washington’s website at www.wawd.uscourts.gov. Pro se litigants may file either

 2 electronically or in paper form. The following alterations to the Electronic Filing Procedures

 3 apply in all cases pending before Judge Lasnik:

 4          – Alteration to LCR 10(e)(9) - Effective July 1, 2014, the Western District of

 5 Washington will no longer accept courtesy copies in 3-ring binders. All courtesy copies must be

 6 3-hole punched, tabbed, and bound by rubber bands or clips. If any courtesy copies are delivered

 7 to the intake desk or chambers in 3-ring binders, the binders will be returned immediately. This

 8 policy does NOT apply to the submission of trial exhibits.

 9          – Alteration to Section III, Paragraph M of the Electronic Filing Procedures - Unless the

10 proposed order is stipulated, agreed, or otherwise uncontested, the parties need not e-mail a copy

11 of the order to the judge’s e-mail address.

12          – Pursuant to LCR 10(e)(10), all references in the parties’ filings to exhibits should be as

13 specific as possible (i.e., the reference should cite the specific page numbers, paragraphs, line

14 numbers, etc.). All exhibits must be marked to designate testimony or evidence referred to in the

15 parties’ filings. Filings that do not comply with LCR 10(e) may be rejected and/or returned to

16 the filing party, particularly if a party submits lengthy deposition testimony without highlighting

17 or other required markings.

18          – Alteration to LCR 7(d)(4) - Any motion in limine must be filed by the date set forth

19 above and noted on the motion calendar no earlier than the second Friday thereafter. Any

20 response is due on or before the Wednesday before the noting date. Parties may file and serve

21 reply memoranda, not to exceed nine pages in length, on or before the noting date.

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 1                                          PRIVACY POLICY

 2          Pursuant to Federal Rule of Civil Procedure 5.2 and LCR 5.2, parties must redact the

 3 following information from documents and exhibits before they are filed with the court:

 4          * Dates of Birth - redact to the year of birth

 5          * Names of Minor Children - redact to the initials

 6          * Social Security Numbers and Taxpayer Identification Numbers - redact in their entirety

 7          * Financial Accounting Information - redact to the last four digits

 8          * Passport Numbers and Driver License Numbers - redact in their entirety

 9          All documents filed in the above-captioned matter must comply with Federal Rule of

10 Civil Procedure 5.2 and LCR 5.2.

11                                            COOPERATION

12          As required by LCR 37(a), all discovery matters are to be resolved by agreement if

13 possible. Counsel are further directed to cooperate in preparing the final pretrial order in the

14 format required by LCR 16.1, except as ordered below.

15                                           TRIAL EXHIBITS

16          The original and one copy of the trial exhibits are to be delivered to chambers five days

17 before the trial date. Each exhibit shall be clearly marked. Exhibit tags are available in the

18 Clerk’s Office. The Court hereby alters the LCR 16.1 procedure for numbering exhibits:

19 plaintiff’s exhibits shall be numbered consecutively beginning with 1; defendant’s exhibits shall

20 be numbered consecutively beginning with 500. Duplicate documents shall not be listed twice:

21 once a party has identified an exhibit in the pretrial order, any party may use it. Each set of

22 exhibits shall be submitted in a three-ring binder with appropriately numbered tabs.

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 1                                           SETTLEMENT

 2         Should this case settle, counsel shall notify the Deputy Clerk as soon as possible.

 3 Pursuant to LCR 11(b), an attorney who fails to give the Deputy Clerk prompt notice of

 4 settlement may be subject to such discipline as the Court deems appropriate.

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 6         DATED this 28th day of September, 2022.

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 8                                                       A
                                                         Robert S. Lasnik
 9                                                       United States District Judge

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